           Case 20-10575-amc          Doc 78     Filed 08/09/21 Entered 08/09/21 18:22:21     Desc
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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:
                                                        Chapter 13

                                                        Bankruptcy No. 20-10575-AMC


         BRIGID D DOYLE-WRIGHT

         15033 LONDON ROAD

         PHILADELPHIA, PA 19116-

                 Debtor

                                          CERTIFICATE OF SERVICE


        AND NOW, comes William C. Miller, Esquire, Chapter 13 standing trustee, and certifies that he served
the attached Motion to Dismiss on the following parties as indicated below:

   Debtor(s), at the address listed, by first class mail.

         BRIGID D DOYLE-WRIGHT

         15033 LONDON ROAD

         PHILADELPHIA, PA 19116-


Counsel for debtor(s), by electronic notice only.

         STEPHEN MATTHEW DUNNE
         1515 MARKET ST
         SUITE 1200
         PHILA, PA 19102-
                                                      /S/ William C. Miller
Date: 8/9/2021                                  ______________________________
                                                      William C. Miller, Esquire
                                                      Chapter 13 Standing Trustee
